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                                Nebraska Court of A ppeals A dvance Sheets
                                     27 Nebraska A ppellate R eports
                                  FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                                             Cite as 27 Neb. App. 671



                      Fo Ge Investments LLC, appellant, v. First A merican
                           Title and First A merican Title Insurance
                                      Company, appellees.
                                                   ___ N.W.2d ___

                                        Filed October 1, 2019.   No. A-18-693.

                 1. Summary Judgment. Summary judgment is to be granted when there
                    is no genuine issue of material fact and the moving party is entitled to
                    judgment as a matter of law.
                 2. ____. Summary judgment is proper only when the pleadings, deposi-
                    tions, admissions, stipulations, and affidavits in the record disclose that
                    there is no genuine issue as to any material fact or as to the ultimate
                    inferences that may be drawn from those facts and that the moving party
                    is entitled to judgment as a matter of law.
                 3. Summary Judgment: Appeal and Error. In reviewing a summary
                    judgment, an appellate court views the evidence in a light most favor-
                    able to the party against whom the judgment is granted and gives
                    such party the benefit of all reasonable inferences deducible from
                    the evidence.
                 4. Insurance: Contracts. An insurance policy should be considered as any
                    other contract and be given effect according to the ordinary sense of the
                    terms used, and if they are clear they will be applied according to their
                    plain and ordinary meaning.
                 5. Appeal and Error. An appellate court is not obligated to engage in an
                    analysis which is not needed to adjudicate the controversy before it.
                 6. Insurance: Contracts: Claims: Proof. To establish a claim for bad
                    faith, a plaintiff must show an absence of a reasonable basis for denying
                    the benefits of the insurance policy and the insurer’s knowledge or reck-
                    less disregard of the lack of a reasonable basis for denying the claim.
                 7. Title: Insurance: Agents. Title insurance companies and their agents
                    are required to exercise the degree of skill and knowledge normally
                    possessed by members of the profession in good standing concerning
                    preliminary title information which is transmitted to their customers.
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            Nebraska Court of A ppeals A dvance Sheets
                 27 Nebraska A ppellate R eports
              FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                         Cite as 27 Neb. App. 671

 8. Summary Judgment: Motions for Continuance: Affidavits. As a
    prerequisite for a continuance, additional time, or other relief, a party is
    required to submit an affidavit stating a reasonable excuse or good cause
    for the party’s inability to oppose a summary judgment motion.
 9. Summary Judgment: Motions for Continuance. In ruling on a request
    for a continuance or additional time in which to respond to a motion for
    summary judgment, a court may consider the complexity of the lawsuit,
    the complications encountered in litigation, and the availability of evi-
    dence justifying opposition to the motion.
10. Motions for Continuance: Appeal and Error. A trial court’s grant or
    denial of a continuance will be reviewed for an abuse of discretion.

   Appeal from the District Court for Douglas County:
J. Michael Coffey, Judge. Affirmed.
  Douglas W. Ruge, of Douglas W. Ruge &amp; Associates, P.C.,
L.L.O., for appellant.
   Brian D. Nolan and Elizabeth Gasaway, of Nolan, Olson &amp;
Stryker, P.C., L.L.O., for appellees.
   R iedmann, A rterburn, and Welch, Judges.
   A rterburn, Judge.
                     I. INTRODUCTION
   Fo Ge Investments LLC (FoGe) appeals from an order
granting summary judgment in favor of First American Title
and First American Title Insurance Company (collectively First
American), which order was entered by the district court for
Douglas County. FoGe contends that there are questions of
material fact with respect to its breach of contract and negli-
gence claims and that summary judgment was premature. For
the reasons that follow, we affirm the district court’s order
granting summary judgment in favor of First American.
                     II. BACKGROUND
  FoGe purchased three tracts of real estate located in Council
Bluffs, Iowa, from Legacy Group, L.L.C. Manager Ryan
Barry signed the sales contract on behalf of Legacy Group on
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
September 25, 2006. The sales contract included a provision
regarding an existing loan involving Barry:
         2) Title to be conveyed “subject to” the existing loan
      with First National Bank of Wahoo, Nebraska. Seller
      to pay all installments due on or before the closing,
      in addition to pro-rations as set forth above. Buyer to
      make payments following the closing, but Seller not
      to be released from liability under the subject loan.
      The exact principal balance remaining to be paid, after
      deducting the principal portion([s]) of any payments
      now due, as shall be paid by the Seller, is estimated
      at between $250,000 . . . and $251,000 . . . , in which
      range the Buyer finds acceptable, excepting that no
      advances or add-ons to the subject loan shall be made
      prior to closing.
This existing loan was reflected by a $272,000 promissory note
dated August 7, 2002, between Barry, as borrower, and First
National Bank of Wahoo, as lender. A purchase money mort-
gage was executed between Barry and First National Bank of
Wahoo on the same date.
   First American conducted a title search with respect to the
subject property and issued a title commitment to FoGe effec-
tive August 31, 2006. The commitment set forth specific exclu-
sions from coverage, including, “14. Mortgage executed by . . .
Barry, in favor of First National Bank of Wahoo, dated August
7, 2002, filed August 21, 2002 in Book 103 at Page 13626,
Records, Pottawattamie County, Iowa, securing the principal
amount of $272,000.00. (Parcels 1, 2, and 3)[.]” Thereafter,
First American issued a title insurance policy to FoGe, which
was dated January 29, 2007. On the first page, the policy
states, in part:
         SUBJECT TO THE EXCLUSIONS FROM COVER­
      AGE, THE EXCEPTIONS FROM COVERAGE CON­
      TAINED IN SCHEDULE B AND THE CONDITIONS
      AND STIPULATIONS, FIRST AMERICAN TITLE
      INSURANCE COMPANY . . . [i]nsures, as of Date
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
      of Policy . . . against loss or damage . . . sustained or
      incurred by the insured by reason of:
         ....
         2. Any defect in or lien or encumbrance on the title[.]
In “Schedule B,” the policy set forth “Special Exceptions”
from coverage, including, “13. Mortgage executed by . . .
Barry, in favor of First National Bank of Wahoo, dated August
7, 2002, filed August 21, 2002 in Book 103 at Page 13626,
Records, Pottawattamie County, Iowa, securing the principal
amount of $272,000.00. (Parcels 1, 2, and 3)[.]” The policy
also included other exclusions from coverage, including, “3.
Defects, liens, encumbrances, adverse claims or other mat-
ters: (a) created suffered, assumed or agreed to by the insured
claimant[.]” Additionally, the policy contained conditions and
stipulations, including, in relevant part:
         3. NOTICE OF CLAIM TO BE GIVEN BY
      INSURED CLAIMANT.
         The insured shall notify the Company promptly in
      writing . . . (ii) in case knowledge shall come to an
      insured hereunder of any claim of title or interest which
      is adverse to the title to the estate or interest, as insured,
      and which might cause loss or damage for which the
      Company may be liable by virtue of this policy . . . . If
      prompt notice shall not be given to the Company, then as
      to the insured all liability of the Company shall terminate
      with regard to the matter or matters for which prompt
      notice is required; provided, however, that failure to
      notify the Company shall in no case prejudice the rights
      of any insured under this policy unless the Company shall
      be prejudiced by the failure and then only to the extent of
      the prejudice.
   A promissory note dated December 7, 2006, shows that
Barry again borrowed from First National Bank of Wahoo,
this time for the sum of $31,469. The promissory note shows
that this debt was secured by the assignment of a life insur-
ance policy.
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
   According to the complaint filed at the inception of the
case and the affidavit of Marvin Thomason, the managing
member of FoGe, submitted in opposition to the motion for
summary judgment, Barry made payments on the second
promissory note of $31,469 for many years before eventu-
ally defaulting. Upon Barry’s default, First National Bank of
Wahoo foreclosed on the subject property, citing the mort-
gage’s cross-default provisions according to Thomason. The
district court for Pottawattamie County, Iowa, entered an
order foreclosing on the subject property on July 11, 2016,
holding that all right, title, and interest of First National Bank
of Wahoo was senior and superior to any right, title, or inter-
est held by FoGe. We note that the foreclosure decree does
not indicate that the nonpayment of the second note or any
cross-default provision was the basis for finding that a default
had occurred. The Iowa court cited only the original 2002
note and mortgage as being in default. Approximately 1 year
after the foreclosure decree was entered, FoGe notified First
American by letter dated July 28, 2017, that it believed First
American was required to indemnify FoGe for any losses or
defense of title in the foreclosure matter.
   On October 16, 2017, FoGe filed a complaint against First
American in the district court for Douglas County, asserting
breach of contract and negligence claims. FoGe alleged that
First American refused to ensure marketable title and acted in
bad faith in not defending title. FoGe also alleged that First
American was negligent in not discovering the December
2006 loan.
   First American filed a motion for summary judgment on
April 3, 2018. At a hearing on the motion for summary judg-
ment on May 14, five exhibits were admitted and the parties
stipulated to the admission of a sixth exhibit at a later time.
Exhibit 1 is an affidavit of First American’s senior claims
counsel with the commitment for title insurance and the policy
of title insurance attached. Exhibit 2 is the foreclosure decree
entered by the Iowa court. Exhibit 3 is the claim letter sent by
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
FoGe’s counsel to First American on July 28, 2017. Exhibits 4
and 6 are affidavits signed by Thomason, the managing mem-
ber of FoGe. Attached to exhibit 4 is the original 2002 prom-
issory note and mortgage between Barry and First National
Bank of Wahoo, the 2006 promissory note from Barry to First
National Bank of Wahoo, and an additional copy of the title
insurance policy. Attached to exhibit 6 is First American’s
response dated September 19, 2017, to FoGe’s claim. Exhibit 5
consists of the affidavit of FoGe’s counsel with an attachment
that includes answers to discovery requests and documents
attached thereto.
   At the close of the hearing, the parties made brief argu-
ments and reserved time to submit briefs. On June 14, 2018,
the court entered summary judgment and dismissed FoGe’s
complaint with prejudice. In a one-page order, the court found
that “no genuine issues of material fact exist and, there-
fore, the motion for summary judgment of [First American]
should be sustained.” The court then dismissed the complaint
with prejudice.
   FoGe appeals from the entry of summary judgment.

               III. ASSIGNMENTS OF ERROR
   FoGe assigns, restated, that the district court erred in enter-
ing summary judgment in favor of First American when ques-
tions of material fact existed with respect to its breach of con-
tract and negligence claims. FoGe also assigns that summary
judgment was premature.

                 IV. STANDARD OF REVIEW
   [1-3] Summary judgment is to be granted when there is
no genuine issue of material fact and the moving party is
entitled to judgment as a matter of law. Wintroub v. Nationstar
Mortgage, 303 Neb. 15, 927 N.W.2d 19 (2019). Under this
standard of review, summary judgment is proper only when
the pleadings, depositions, admissions, stipulations, and affi-
davits in the record disclose that there is no genuine issue as to
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
any material fact or as to the ultimate inferences that may be
drawn from those facts and that the moving party is entitled to
judgment as a matter of law. Id. In reviewing a summary judg-
ment, an appellate court views the evidence in a light most
favorable to the party against whom the judgment is granted
and gives such party the benefit of all reasonable inferences
deducible from the evidence. Id.                         V. ANALYSIS
                1. Breach of Contract Claims
   FoGe argues that the district court erred in granting sum-
mary judgment in favor of First American on its breach of
contract claims. Specifically, FoGe argues that questions of
material fact exist with respect to First American’s obligation
to provide coverage under the plain language of the insur-
ance policy, the adequacy and timing of FoGe’s notice to First
American, and whether First American denied coverage in
bad faith.
            (a) First American’s Contractual Obligation
    FoGe first contends that a question of material fact exists
with respect to First American’s obligation to perform under
the plain language of the insurance policy and whether First
American breached that agreement by not compensating FoGe
for its losses incurred through foreclosure. In response, First
American argues that policy exceptions and exclusions apply,
warranting its nonperformance.
    The title insurance policy issued by First American included
a provision excluding coverage for losses incurred with respect
to the “Mortgage executed by . . . Barry, in favor of First
National Bank of Wahoo, dated August 7, 2002 . . . .” Thus,
it is clear from the policy’s plain language that First American
had no obligation to compensate FoGe for losses with respect
to the mortgage.
    However, FoGe contends that the foreclosure was not
due to any default on the 2002 note that was secured by the
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
mortgage, but, rather, was due to Barry’s default on the 2006
note. FoGe contends that a cross-default provision in the
mortgage allowed First National Bank of Wahoo to foreclose
based on Barry’s default. FoGe argues that the policy does
not include a specific exception or exclusion referencing this
second promissory note and that, by extension, First American
therefore insured against loss or damage arising from that
second note, namely the loss incurred by virtue of the fore-
closure under the alleged cross-default provision contained
in the original mortgage. We note that this second debt was
not secured by the subject property under the terms of the
note itself, however. Instead, the only security mentioned is a
life insurance policy. Nevertheless, FoGe alleges that Barry’s
eventual default on the 2006 promissory note allowed First
National Bank of Wahoo to foreclose on the property by vir-
tue of a cross-default provision contained within the August
2002 mortgage.
   We first note that it is questionable whether the record
provided actually supports FoGe’s argument. Although the
affidavit of Thomason states that the basis for the foreclosure
was the default by Barry on the 2006 promissory note and the
cross-default clause contained in the mortgage, the foreclosure
decree entered by the Iowa court makes no reference to such
a basis. In fact, the decree references a principal balance of
$464,690.71 on the 2002 note, with additional accrued interest
due of $87,390.12 as the debt owed. Moreover, it is difficult
to discern from the mortgage itself where the alleged cross-
default provision is located. This may be due to the poor qual-
ity of the copy of the mortgage attached to the exhibits.
   [4] Even if we accept Thomason’s allegations as true,
however, summary judgment would still be proper in favor
of First American. An insurance policy should be considered
as any other contract and be given effect according to the
ordinary sense of the terms used, and if they are clear they
will be applied according to their plain and ordinary mean-
ing. Allstate Ins. Co. v. Farmers Mut. Ins. Co., 233 Neb.
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671

248, 444 N.W.2d 676 (1989). Here, the title insurance policy
clearly excluded any loss or damage which arose by reason
of the mortgage executed by Barry in favor of First National
Bank of Wahoo, which mortgage was dated August 7, 2002.
That mortgage is the instrument upon which foreclosure was
granted by the Iowa court.
   FoGe argues that because the language of the exception
specifically provides that the mortgage secures the principal
amount of $272,000, the amount of the original 2002 note, it
does not apply to the 2006 note, which was in the amount of
$31,469. We disagree. Even if a default on the 2006 note was
the basis for foreclosure, it was still the 2002 mortgage that
was being foreclosed. That mortgage was a known lien at the
time the title insurance policy was issued and a specific excep-
tion was made. The language that identified $272,000 as being
the principal amount secured merely gives a more specific
description of the mortgage. It does not limit in any way what
is being excluded. The 2002 mortgage was foreclosed, and
the exception in the policy applied to that mortgage. As such,
the district court correctly found that no material issue of fact
existed as to the contract claim and granted summary judgment
to First American.

             (b) FoGe’s Notice to First American
   [5] Having found above that First American was entitled
to summary judgment on FoGe’s contract claim, we need not
address whether FoGe’s failure to provide First American
with notice of the foreclosure action was prejudicial to First
American’s interests. An appellate court is not obligated to
engage in an analysis which is not needed to adjudicate the
controversy before it. City of Sidney v. Municipal Energy
Agency of Neb., 301 Neb. 147, 917 N.W.2d 826 (2018).

                (c) Bad Faith Denial of Coverage
  [6] FoGe next argues that First American denied coverage in
bad faith. First American argues that it cannot be held liable in
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                      Cite as 27 Neb. App. 671
an action based on bad faith, because it had multiple reason-
able bases to deny FoGe’s claim. To establish a claim for bad
faith, a plaintiff must show an absence of a reasonable basis for
denying the benefits of the insurance policy and the insurer’s
knowledge or reckless disregard of the lack of a reasonable
basis for denying the claim. Williams v. Allstate Indemnity Co.,
266 Neb. 794, 669 N.W.2d 455 (2003). First American’s denial
of FoGe’s claim reflects the issues discussed herein, particu-
larly the exclusion of the 2002 mortgage. Because FoGe did
not show an absence of a reasonable basis for First American’s
denying benefits of the insurance policy, FoGe cannot estab-
lish a claim for bad faith. Accordingly, summary judgment of
FoGe’s breach of contract claims was appropriate.
                      2. Negligence Claim
   [7] FoGe contends that the district court erred in entering
summary judgment with respect to its negligence claim against
First American for failing to discover and report the second
loan that Barry obtained. We disagree. Title insurance compa-
nies and their agents are required to exercise the degree of skill
and knowledge normally possessed by members of the profes-
sion in good standing concerning preliminary title information
which is transmitted to their customers. See Tess v. Lawyers
Title Ins. Corp., 251 Neb. 501, 557 N.W.2d 696 (1997).
However, this duty is not that of a guarantor, but instead is a
duty of reasonable care. See id.   Here, the second loan, taken out shortly before the title
commitment was made, by its own terms was not secured
by the subject property. It was simply a promissory note.
Moreover, according to the affidavit of Thomason, he became
aware of Barry’s need for the 2006 loan prior to the closing
of the sale. According to Thomason, Barry needed the loan
to pay off past due property taxes. Thomason “made it clear”
that FoGe would not pay the taxes. According to Thomason,
Barry then obtained the needed loan from First National Bank
of Wahoo. Therefore, it is clear FoGe was aware of the 2006
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           FO GE INVESTMENTS v. FIRST AMERICAN TITLE
                      Cite as 27 Neb. App. 671
loan, as well as the existing 2002 loan, that it was assuming
payments on and the mortgage which secured it. The title to
the subject property was identified as being subject to the dis-
closed mortgage. On these facts, we, like the district court, can
find no basis for finding that a material issue of fact exists as
to any breach of duty on First American’s part.

                 3. Timing of Entry of Order on
                       Summary Judgment
   FoGe argues that the court prematurely entered summary
judgment while it was attempting to locate title and escrow
files and secure a standard of care expert witness with respect
to the second loan. First American argues in reply that sum-
mary judgment was timely entered because it was clear from
the face of the pleadings that FoGe could not establish its
claims. We find that the timing of summary judgment in this
matter was not improper.
   [8-10] Neb. Rev. Stat. § 25-1335 (Reissue 2016) safe-
guards against an improvident or premature grant of sum-
mary judgment:
         Should it appear from the affidavits of a party oppos-
      ing the motion that he cannot for reasons stated present
      by affidavit facts essential to justify his opposition, the
      court may refuse the application for judgment or may
      order a continuance to permit affidavits to be obtained
      or depositions to be taken or discovery to be had or may
      make such other order as is just.
As a prerequisite for a continuance, additional time, or other
relief, a party is required to submit an affidavit stating a
reasonable excuse or good cause for the party’s inability to
oppose a summary judgment motion. See Gaytan v. Wal-Mart,
289 Neb. 49, 853 N.W.2d 181 (2014). The affidavit need not
contain evidence going to the merits of the case, but must
explain why the party is presently unable to offer evidence
essential to justify opposition to the motion for summary judg-
ment. Id. In ruling on a request for a continuance or additional
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time in which to respond to a motion for summary judgment,
a court may consider the complexity of the lawsuit, the com-
plications encountered in litigation, and the availability of evi-
dence justifying opposition to the motion. Id. The court may
also consider whether the party has been dilatory in complet-
ing discovery and preparing for trial. Id. A trial court’s grant
or denial of a continuance will be reviewed for an abuse of
discretion. Id.   An affidavit signed by counsel for FoGe stated that a grant
of summary judgment would be premature because FoGe had
not yet received from First American a copy of the title and
closing files maintained by First American. However, the affi-
davit does not describe why the title and escrow files were
necessary to defend against First American’s motion for sum-
mary judgment. Additionally, the affidavit noted that FoGe
would want to depose the “Defendants,” although the affidavit
did not indicate which specific persons were sought for deposi-
tions. The affidavit also stated that FoGe was in the process of
interviewing standard of care experts with respect to its neg-
ligence claim against First American. Thus, through affidavit,
FoGe did raise issues encompassed by § 25-1335. We note that
FoGe did not file an actual motion to continue or make an oral
motion on the record.
   Above, we found that FoGe’s negligence claim is not sup-
ported by the record, particularly given FoGe’s own knowledge
of the language contained in the 2006 promissory note and the
2002 mortgage. As such, we cannot find that FoGe’s request
seeking additional time to find a standard of care expert to
support its negligence claim was good cause for its inabil-
ity to oppose the summary judgment motion. FoGe’s claim
that it needed a copy of the title and closing files from First
American did not persuade the district court, because the court
entered summary judgment notwithstanding FoGe’s affidavit.
Neither in its affidavit nor briefs on appeal did FoGe elucidate
what additional information it thought could be found in the
files that would support its negligence claims. An affidavit
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“should specifically identify the relevant information that will
be obtained with additional time and indicate some basis for
the conclusion that the sought information actually exists.”
Lombardo v. Sedlacek, 299 Neb. 400, 416-17, 908 N.W.2d 630,
643 (2018). Accordingly, we find that the district court did not
abuse its discretion in not continuing the matter and, instead,
entering summary judgment.
                       VI. CONCLUSION
   Based on the record presented on appeal, we find no error
in the district court’s findings that no issues of material fact
existed and that First American’s motion for summary judg-
ment ought to be sustained. We also find that the district court
did not abuse its discretion by entering its order on summary
judgment without allowing additional time for discovery.
	A ffirmed.
